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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEO GIA           JS,
                                     ATLANTA DIVISION                       JAN 2 4 2Qf7
                                                                    r
                                                                          ... N. Hattan, Clede
ARMANDO BARAGAN RAMIREZ,                                             111Jf,7j /l
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     Movant
                                                   CRIMINAL ACTION NO.
V.
                                                   1:03-CR-493-12-0DE-AJB

UNITED STATES OF AMERICA,                          CIVIL ACTION NO.
                                                   1:16-4290-0DE-AJB
     Respondent


                                            ORDER



     This pro se civil case is before the Court on the Final                               Report

and Recommendation of United States Magistrate Judge Alan J.                             Baverman


filed December 5,       2016     [Doc.    2600]    ("R&R").   No objections have been

filed.


     In    the   R&R,      Judge    Baverman       recommends   that       this        action    be

dismissed    for    lack    of   jurisdiction.         Specifically,         Judge       Baverman

found that Movant's petition is a successive§ 2255 motion which this


Court cannot consider because Movant failed to obtain authorization

from the United States Court of Appeals for the Eleventh Circuit for

consideration of a second or successive §                 2255 petition.

     The    Court    having      read    and     considered   the    R&R    and        noting   the

absence of    any objections,            it is    hereby ADOPTED as the opinion and

order of the Court.            For the reasons set forth in the R&R,                     Movant's

petition is DISMISSED and Civil Action Number 1:16-CV-4290-0DE-AJB is

DISMISSED.

     SO ORDERED,        this       d,3 day of January,        2017.




                                           ORINDA D. EVANS
                                           UNITED STATES DISTRICT JUDGE
